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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

 UNITED STATES OF AMERICA

              Plaintiff,

       v.                                     Case No. 1:20–cr-142
                                              JUDGE DOUGLAS R. COLE
 ALEXANDER SITTENFELD,
   a/k/a “P.G. Sittenfeld,”

              Defendant.

                              OPINION AND ORDER

       This Opinion and Order addresses the government’s Sealed Motion for a

Protective Order (Doc. 33). For the reasons stated below, the Court GRANTS the

government’s Motion. Accordingly, going forward, both parties are directed to file

under seal any references, whether in briefing or exhibits, to allegations regarding




                        To accomplish this, the parties shall file any such documents

on the sealed docket in unredacted form. The parties shall then have twenty-four

hours to file on the public docket a version of any such filing in which all references

to such allegations are redacted. The parties are directed to work together to

determine the specific redactions necessary pursuant to this Opinion and Order, and

to contact the Court if they cannot agree. In addition, because the government’s

Motion (Doc. 33) and Sittenfeld’s Response Brief (Doc. 50) are both currently under

seal, the parties are directed to (1) redact references to the allegations in those
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documents consistent with this Opinion and Order, and (2) file the redacted

documents on the public docket.

                                    BACKGROUND

         While preparing for trial in this case, Sittenfeld compiled a list of potential

witnesses who might have information that is helpful to him.




         Sittenfeld thought these allegations raised issues of potential government

misconduct and called into question

                                   So Sittenfeld informed the government of these

allegations and asked for further discovery material relating to them. The defense

wanted, for example,




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      Upon learning of the allegations, the government notified its liaison with the

FBI who is responsible for handling Giglio inquiries. That prompted the FBI to begin

an investigation into the matter. (According to the government, the FBI is expected

to respond formally to the allegations at some future time.) Later, the defense notified

the government of allegations relating to



                                                            As it did with the earlier

allegations, the government notified its liaison responsible for handling Giglio claims,

and the FBI broadened the scope of its original investigation to include these new

allegations. The investigation was still ongoing as of the time that the government

filed the instant Motion. (Doc. 33).

      As for the discovery requests, the government and the defense appear to have

reached an impasse. The government believes that “some of the Defendant’s requests

seek information that is not discoverable under the law.” (Gov’t Mot., Doc. 33, #267).

The defense disagrees. At a January 22, 2021, status conference, the government

notified the Court of the agent-misconduct allegations and asked for a temporary seal

on any reference to the allegations that might be submitted to the Court. The Court

granted the government’s request. The government now seeks a permanent seal on

such allegations.




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      Unfortunately, the government is not exactly clear about the relief it is

requesting. For example, at the start of its Motion, the government “requests that the

Court order any references to the Defendant’s claims of misconduct

                                           be filed under seal and protected from

dissemination at this time.” (Gov’t Mot., Doc. 33, #266 (emphasis added)). That

suggests the government is only requesting a seal regarding the specific allegations

of misconduct that give rise to the instant motion—allegations relating to




      But at the end of its Motion, the government says it is requesting an order

requiring “that all discovery filings related to allegations of misconduct

                   be filed and kept under seal.” (Id. at #271 (emphasis added)). Read

literally, the government’s request could be understood as relating to every

conceivable allegation of government misconduct that might be made, however

unrelated to the specific allegations of misconduct giving rise to the instant Motion.

But it seems unlikely that the government is seeking such relief. The government’s

reasons for seeking a protective order are tied to the nature of the specific allegations

at issue here. And it has not explained why an order regarding all conceivable

allegations of misconduct is supported by good cause. The Court therefore construes

the government’s request as limited to the specific allegations giving rise to the

instant Motion. That said, if the government wishes to request a protective order




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relating to other allegations of misconduct that may arise, it is of course free to file

such a motion whenever it thinks appropriate. 2

       The government is also not completely clear about (1) whether it is seeking a

seal on just “references to the Defendant’s claims of misconduct” that might be

included in discovery filings that largely contain other information that doesn’t need

to be sealed, (id. at #266 (emphasis added)); or (2) whether, instead, it is seeking a

seal on “all discovery filings related to allegations of misconduct involving

undercover,” (id. at #271 (emphasis added)). A seal on the former would just require

redactions of portions of a filing that reference the allegations but would not

necessarily require that the entire filing be placed under seal (unless specific

redactions were unfeasible for whatever reason). A seal on the latter suggests that

the entire filing would be placed under seal, even if the filing is largely

unobjectionable and contains just a few discrete references to the allegations.

       The Court again opts for the more limited construction. The government does

not explain why an entire filing would need to be placed under seal when only discrete

portions of it reference the allegations. And the Court suspects that good cause would

not exist for placing an entire filing under seal, as opposed to simply redacting the

protectable portions of the filing (when feasible).

       Putting these limiting constructions together, the Court construes the

government’s Motion as follows: a request for an order from this Court requiring that


2To avoid dissemination of potentially protectable discovery material before the government
seeks (and potentially obtains) such an order, the Court encourages the parties to work
together to avoid any disclosure of such materials before the Court has an opportunity to
resolve any potential sealing issues relating to those allegations.


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any references to the specific allegations giving rise to the instant Motion be placed

under seal if included in a discovery motion filed with the Court. So understood, the

Court GRANTS the government’s Motion for the reasons below.

                                LEGAL STANDARD

      Federal Rule of Criminal Procedure 16(d)(1) permits a Court to issue a

protective order regarding discovery material “for good cause.” But what constitutes

“good cause” under Rule 16(d)(1) remains an underdeveloped area of law in this

Circuit. Fortunately, out-of-circuit precedent provides useful guidance. Courts have

held that “good cause” under Rule 16(d)(1) “exists ‘when a party shows that disclosure

will result in a clearly defined specific and serious injury.’” United States v. Bundy,

No. 2:16-cr-046-GMN-PAL, 2016 U.S. Dist. Lexis 166626, at *10 (D. Nev. Nov. 30,

2016) (quoting United States v. Smith, 985 F. Supp 2d 506, 523 (S.D.N.Y. 2013));

accord United States v. Wecht, 484 F.3d 194, 211 (3d Cir. 2007) (“Good cause is

established on a showing that disclosure will work a clearly defined and serious injury

to the party seeking closure. The injury must be shown with specificity.”).

“Establishing such an injury … requires ‘a particular factual demonstration of

potential harm, not [only] conclusory statements.’” Bundy, 2016 U.S. Dist. Lexis

166626, at *10 (second alteration original) (quoting Smith, 985 F. Supp. 2d at 523);

see also Wecht, 484 F.3d at 211 (“Broad allegations of harm, unsubstantiated by

specific examples or articulated reasoning, do not support a good cause showing.”)

(quotation omitted). In addition, courts have considered the following factors in

determining whether good cause exists: whether (1) disclosure of the materials in




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question would pose a hazard to others; (2) the defendant would be prejudiced by a

protective order; and (3) the public’s interest in disclosure outweighs the possible

harm. United States v. Dixon, 355 F. Supp. 3d 1, 4 (D.D.C. 2019); see also Smith, 985

F. Supp. 2d at 522–23.

                               LAW AND ANALYSIS

A.      The Government Has Shown Good Cause

        1.     The Government Has Articulated A Clearly Defined, Specific,
               and Serious Injury.

        The Court first considers whether the government has articulated a clearly

defined, specific injury that may result if the Court does not issue the requested order.

The government has. That injury is this: without the protective order, the defense,

through discovery filings, may publicly disseminate information about sensitive

allegations that are currently being investigated, and that, depending on the results

of the investigation, may be irrelevant or otherwise inadmissible at trial.

        Recall that these allegations consist of claims of

                                                                              Given the

salacious nature of these allegations, they risk prejudicing the government’s case

with the jury pool, even though the allegations may end up playing no role at trial in

this case. “Intense publicity surrounding a criminal proceeding—what Justice

Frankfurter referred to as ‘trial by newspaper’—poses significant and well-known

dangers to a fair trial.” United States v. Brown, 218 F.3d 415, 423 (5th Cir. 2000)

(quoting Pennekamp v. Florida, 328 U.S. 331, 359 (1946) (Frankfurter, J.,

concurring)). “Paramount among these dangers is the potential that pretrial publicity



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      There is also the distinct risk that dissemination of these allegations will

prejudicially taint the jury pool by exposing it to information that the Court rules is

irrelevant or otherwise inadmissible at trial. At this stage, these allegations are

mostly likely to come before the Court in a pre-trial discovery motion.

                                               It is quite possible that the Court will

rule against Sittenfeld’s                        discovery requests regarding these

allegations. Even if the Court permits such discovery, the Court may still rule that

the information is irrelevant or otherwise inadmissible at trial. Disclosure of such

information would thus “play a negative role in the functioning of the criminal

process, by exposing the public generally, as well as potential jurors, to” seemingly

“incriminating” allegations that might “not be used” at trial. United States v.

McVeigh, 119 F.3d 806, 813 (10th Cir. 1997); see also United States v. Anderson, 799

F.2d 1438, 1441 (11th Cir. 1986) (reasoning that if “discovery information and

discovery orders were readily available to the public and the press, the consequences

to the smooth functioning of the discovery process would be severe”).

      One further consequence of all this could be a chilling effect that unacceptably

impedes the discovery process. If discovery disputes regarding sensitive (and

potentially irrelevant) allegations cannot be resolved with a reasonable degree of

privacy, then one or both parties may “be discouraged from putting their” discovery

requests or responses “in writing.” Anderson, 799 F.2d at 1441. That would be




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would remain unchanged under the order. Only non-parties would be affected by the

order in that they would not be able to view any references to the allegations that

might be included in any discovery filings. In fact, nowhere in Sittenfeld’s response

brief does he attempt to identify any prejudice that the government’s requested order

would cause him. The defense exclusively argues that the government has not

asserted a specific-enough or serious-enough injury to justify restricting public access

to the allegations.

      That brings the Court to the last factor: whether the public interest in

disclosure outweighs the potential harm. It does not. These allegations are before the

Court only because of an anticipated discovery dispute. In other words, as of now,

they are relevant only to the extent they concern potentially discoverable information

in the possession of the government. That is important because, in both civil and

criminal cases, “[d]iscovery is neither a public process nor typically a matter of public

record.” Anderson, 799 F.2d at 1441. That follows as an historical matter—discovery

materials were not traditionally “available to the public or press.” Id.; see also Bond

v. Utreras, 585 F.3d 1061, 1074 (7th Cir. 2009) (“At common law, pretrial proceedings

were closed to the public … and the federal discovery rules have not changed this

common-law tradition.”) (citing Gannett Co., 443 U.S. at 389). And it also follows as

a matter of prudence. If discovery were a public process, “the purpose of the discovery

rules—to encourage the disclosure of information and materials to avoid unnecessary

surprise and to level the playing field—might be undermined.” Smith, 985 F. Supp.

2d at 520. Moreover, “[m]uch of the information that surfaces during pretrial




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discovery may be unrelated, or only tangentially related to the underlying cause of

action.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33 (1984). As a result, “restraints

placed on discovered, but not yet admitted, information are not a restriction on a

traditionally public source of information.” Id. In short, the Court finds that the

legitimate public interest in “discovered, but not yet admitted, information,” like the

allegations here, is minimal. To the extent that the public has any legitimate interest

in the information, the Court concludes that it does not outweigh the potential harm

that may result from dissemination.

B.    Sittenfeld’s Arguments Do Not Persuade

      Sittenfeld deploys several arguments in opposing the government’s motion.

None are persuasive.

      Sittenfeld begins by arguing that the government has not asserted a “clearly

defined and serious injury” necessary to show cause under Rule 16(d)(1). (Sittenfeld

Resp., Doc. 50, #454). According to Sittenfeld, that follows from the fact that the

government has not identified any precedent specifically holding that a desire to

prevent dissemination of alleged government misconduct is a basis for showing “good

cause.” But that argument would prove too much. Ordinarily, a litigant need not show

a previous case exactly on point factually in order to justify relief in the instant

matter. Legal reasoning often depends on analogy, and Sittenfeld cites nothing

suggesting that is any less true here. As noted above, plenty of authority suggests

that the trial court has an obligation to manage discovery to mitigate harmful effects

from pre-trial publicity. Likewise, plenty of authority holds that the public has little




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if any interest in accessing pre-trial discovery information. These settled principles

inform the understanding of “good cause.” And given the nature of the allegations

here, which pose a substantial risk of prejudicing the jury pool before the Court has

even had an opportunity to review their admissibility, such cases support a finding

of good cause.

      Sittenfeld next throws up a grab-bag of arguments without expending much

effort developing any of them. Because he has likely waived these arguments, see

Navarro v. Procter & Gamble Co., No. 1:17-CV-406, 2021 WL 184591, at *46 (S.D.

Ohio Jan. 19, 2021), the Court will address them only briefly (with one exception

discussed more fully below).

      To start, contrary to Sittenfeld’s contentions, the government did not fail to

identify “specific harm” in support of its motion for a protective order. (Sittenfeld

Resp., Doc. 50, #454). The government cited the potential for jury taint due to the

sensitive nature of the allegations, coupled with the fact that the allegations may be

deemed inadmissible at trial. Similarly, the government’s motion is not “replete with

broad allegations of speculative harm.” (Id. at #455). Rather, the government

describes the allegations and then explains concretely the prejudicial risk they pose

to the government’s case. Sittenfeld also faults the government for not citing any of

the considerations the Criminal Rules Advisory Committee listed as a potential basis

for granting a protective order. (Id. at #454–55). These considerations include (1) the

safety of witnesses and others, (2) a particular danger of perjury or witness

intimidation, (3) the protection of information vital to the national security, and




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(4) the protection of business enterprises from economic reprisals. See Advisory

Committee’s Note to 1966 Amendment of Rule 16. Importantly, however, the

Advisory Committee prefaced this list by saying that the entries on the list were

simply “[a]mong the considerations to be taken into account by the court.” Id.

(emphasis added). In no way did the Advisory Committee suggest that this list was

intended to furnish the exclusive grounds for finding good cause.

      Sittenfeld further contends that the government’s motion (1) prematurely

challenges the admissibility of discovery material related to the allegations; and

(2) prematurely seeks in camera review of such material. (Sittenfeld Resp., Doc. 50,

#455–57). Sittenfeld is wrong on both counts. To be sure, the government argues that

the potential inadmissibility of the material weighs in favor of granting a protective

order. Likewise, the government argues that because the allegations relate to

material that the Court may need to inspect in camera, that too weighs in favor of a

seal. But the government is quite clear, at least in this Motion, that it is not yet

challenging the admissibility of such information or seeking in camera review. And

it repeatedly emphasizes the limited nature of the relief that it is seeking: a seal on

the above-mentioned allegations that may be referenced in any discovery filings

submitted to the Court.

      Sittenfeld’s last argument is perhaps his most serious, and thus warrants a

more fulsome response. Sittenfeld notes that, in the Sixth Circuit, the sealing of (at

least certain types of) documents in (at least certain types of) civil cases is governed

by Shane Group, Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299 (6th Cir.




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2016). And Shane Group, as Sittenfeld notes, imposes a much tougher standard on

the moving party than Rule 16(d)(1)’s good-cause standard does.

      More specifically, Shane Group drew a distinction between, on the one hand,

“so-called ‘protective orders’ entered pursuant to the discovery provisions of Federal

Rule of Civil Procedure 26,” and on the other, “orders to seal court records.” 825 F.3d

at 305. As the court explained, “[d]iscovery concerns the parties’ exchange of

information that might or might not be relevant to their case.” Id. “Secrecy is fine at

the discovery stage.” Id. (quoting Baxter Int’l, Inc. v. Abbott Labs., 297 F.3d 544, 545

(7th Cir. 2002)). “Thus, a district court may enter a protective order limiting the use

or disclosure of discovery materials upon a mere showing of ‘good cause.’” Id. (quoting

Fed. R. Civ. P. 26(c)(1)). “These orders are often blanket in nature, and allow the

parties to determine in the first instance whether particular materials fall within the

order’s protection.” Id.

      “At the adjudication stage, however, very different considerations apply.” Id.

(quoting Joy v. North, 692 F.2d 880, 893 (2d Cir. 1982)). And language in Shane

Group suggests that line between these two stages—“discovery and adjudicative”—is

crossed when the parties place material into “the court record.” Id. (citing Baxter, 297

F.3d at 545). The court reasoned that “[u]nlike information merely exchanged

between the parties, ‘[t]he public has a strong interest in obtaining the information

contained in the court record.’” Id. (second alteration original) (quoting Brown &

Williamson Tobacco Corp v. F.T.C., 710 F.2d 1165, 1180 (6th Cir. 1983)). The upshot

is that “courts have long recognized … a ‘strong presumption in favor of openness’ as




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to court records.” Id. (quoting Brown & Williamson, 710 F.2d at 1180). The burden of

overcoming that presumption “is a heavy one.” Id. “Only the most compelling reasons

can justify non-disclosure of judicial records.” Id. (quoting In re Knoxville News-

Sentinel Co., 723 F.2d 470, 476 (6th Cir. 1983)). “Moreover, the greater the public

interest in the litigation’s subject matter, the greater the showing necessary to

overcome the presumption of access.” Id. So, for example, in class actions—“where by

definition some members of the public are also parties to the case”—standards for

sealing should be particularly strict. Id. (cleaned up). “And even where a party can

show a compelling reason why certain documents or portions thereof should be sealed,

the seal itself must be narrowly tailored to serve that reason.” Id. “The proponent of

sealing therefore must ‘analyze in detail, document by document, the propriety of

secrecy, providing reasons and legal citations.’” Id. at 305–06 (quoting Baxter, 297

F.3d at 548).

      The Court quotes Shane Group at length because, even though it was a civil

case, its reasoning applies here to some extent. After all, while the government labels

its motion as a request for a protective order under Rule 16(d)(1), the government is

effectively seeking an order that would seal certain information included in the court

record. And, as noted, Shane Group at least suggests that the line separating the

discovery stage and adjudicative stage “is crossed when the parties place material in

the court record.” 925 F.3d at 305. Thus, the material here, which is “in the court

record,” could be considered part of the “adjudicative stage,” even though this is a

discovery dispute.




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       But, while Shane Group plausibly could be read as applying to every

conceivable court filing, including discovery-type motions like those here, the Court

concludes that the case need not necessarily be read that way. Importantly, Shane

Group itself involved an order that had “sealed most of the parties’ substantive filings

from public view, including nearly 200 exhibits and an expert report upon which the

parties based a settlement agreement that would determine the rights of … millions

of citizens.” Id. at 302. Thus, in reaching its decision there, the Sixth Circuit was not

required to consider the exact contours that separate “the adjudication stage,” on the

one hand, and the “discovery stage,” on the other. The documents at issue here, by

contrast, are discovery filings seeking discovery material submitted during the

discovery phase of litigation. In a certain sense, such filings could be seen as a hybrid

creature of both stages. They are at once documents filed with the court and “place[d]

… in the court record,” but also documents filed while discovery is ongoing seeking

“information that might or might not be relevant to [the] case.” Id. at 305. Thus, it

may be an overreading of Shane Group to suggest that the case means to create a

bright-line rule under which the presumption of access necessarily applies to every

court filing.

       Indeed, at least one district court in this Circuit has concluded that, to the

contrary, Shane Group did draw “a distinction between discovery motions and

adjudicative motions,” with Shane Group’s requirements for sealing applying only to

the latter types of motions. Counts v. Gen. Motors LLC, No. 1:16-12541, 2019 WL

5288044, at *2 (E.D. Mich. Oct. 18, 2019) (holding that Shane Group’s strict standards




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did not apply to a motion (and responses to that motion) to permit limited discovery

and reset corresponding deadlines). This Court is less convinced that Shane Group

drew that distinction, even implicitly. But the Court is convinced that Shane Group

did not necessarily reject the distinction either. As noted above, the issue simply was

not presented there.

      Thus, this Court must address whether Shane Group’s requirements should

apply to every occasion on which a party files material with the court, thereby

“plac[ing] [it] in the court record.” Id. The Court concludes they should not, as “[s]uch

an approach does not distinguish between material filed with discovery motions and

material filed in connection with more substantive motions.” Chicago Trib. Co. v.

Bridgestone/Firestone, Inc., 263 F.3d 1304, 1312 (11th Cir. 2001). And that

distinction matters for a few reasons.

      First, it matters based on the relevant history. Shane Group derived its

standard from the well-settled common-law presumption of access to court

documents. See Shane Grp., 825 F.3d at 305 (“The courts have long recognized,

therefore, a ‘strong presumption in favor of openness’ as to court records.”) (quoting

Brown & Williamson, 710 F.2d at 1179). That presumption traces its roots to the

Roman and English traditions of trials being open to the public. See Binh Hoa Le v.

Exeter Fin. Corp., 990 F.3d 410, 418 (5th Cir. 2021); see also Gannett Co., 443 U.S. at

386 n.15, (“For many centuries, both civil and criminal trials have traditionally been

open to the public.”). By contrast, there was no corresponding tradition of public

access to pretrial proceedings. Gannett Co., 443 U.S. at 389 (“Under English common




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law, the public had no right to attend pretrial proceedings.”); accord Seattle Times

Co., 104 S. Ct. at 2207–08; see also Anderson, 799 F.2d at 1441.

      Of course, over time, certain pre-trial procedural vehicles have developed that

adjudicate substantive rights, and thereby serve as a sort of “substitute” for trials (for

example, summary judgment proceedings). Rushford v. New Yorker Mag., Inc., 846

F.2d 249, 252 (4th Cir. 1988). And, not surprisingly, courts have applied the common-

law presumption of openness to documents associated with such proceedings. See id.

(collecting cases). But, when it comes to “material filed with discovery motions” that

do not “require judicial resolution of the merits,” courts have held that the common-

law presumption of access does not attach. Chicago Trib. Co., 263 F.3d at 1312; accord

Binh Hoa Le, 990 F.3d at 419 n.31; see also Anderson v. Cryovac, Inc., 805 F.2d 1, 10

(1st Cir. 1986) (“Although we agree that the public has a right of access to some parts

of the judicial process, we conclude that this right does not extend to documents

submitted to a court in connection with discovery proceedings.”); Leucadia, Inc. v.

Applied Extrusion Techs., Inc., 998 F.2d 157, 165 (3d Cir. 1993) (“[W]e hold there is

no [presumption of access] right as to discovery motions and their supporting

documents.”). Thus, to the extent Shane Group arises from and embodies common-

law notions about access, its strictures would not naturally extend to discovery

motions.

      Second, the distinction matters because the purposes underlying the

presumption of access counsel against giving the presumption much (if any) weight

in the context of discovery motions. “The presumption of access is based on the need




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for federal courts, although independent—indeed, particularly because they are

independent—to have a measure of accountability and for the public to have

confidence in the administration of justice.” United States v. Amodeo, 71 F.3d 1044,

1048 (2d Cir. 1995) (Winter, J.); see also Binh Hoa Le, 990 F.3d at 418 (“Public trust

cannot coexist with a system wherein judicial decisions are made behind closed

doors.” (cleaned up)). But not all information “generated in federal litigation” plays

an equally valuable role in allowing the public to monitor the federal courts’

performance of their Article III functions. Amodeo, 71 F.3d at 1048. Applying a strong

presumption of access to “every item turned up in the course of litigation would be

unthinkable.” Id. It would impair reputations, ruin relationships, destroy businesses,

and, as relevant here, potentially taint jurors “on the basis of misleading or downright

false information.” Id. at 1048–49.

      One way to strike a balance is to have the weight of the presumption be

governed “by the role of the material at issue in the exercise of Article III judicial

power and the resultant value of such information to those monitoring the federal

courts.” Id. at 1049; accord IDT Corp. v. eBay, 709 F.3d 1220, 1224 (8th Cir. 2013).

Generally, “information will fall somewhere on a continuum from matters that

directly affect an adjudication to matters that come within a court’s purview solely to

insure their irrelevance.” Amodeo, 71 F.3d at 1049. Filings relating solely to discovery

issues, which frequently are about the relevance (or irrelevance) of certain

information, fall at or near the latter end of that continuum. Thus, to the extent the

presumption of access applies at all to such documents, it should be “weak” because




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the documents bear only a “marginal relationship to the performance of Article III

functions.” Id. at 1052.

      Third, the distinction matters because applying Shane Group’s standard to

discovery filings undermines the primary purpose of discovery: “to encourage the

disclosure of information and materials to avoid unnecessary surprise and to level

the playing field.” Smith, 985 F. Supp. 2d at 520. Consider, for example, the existing

protective Order in this case. (See Doc. 17). That Order functions as a kind of blanket

order limiting the dissemination of certain categories of discovery material “to

encourage the disclosure of information” from the government to Sittenfeld. Smith,

985 F. Supp. 2d at 520. In issuing that Order, the Court only had to make a finding

of good cause and the Court was not required to narrowly tailor the Order. It would

be surprising if a party who receives information under that protective Order could

turn around and evade—unilaterally—the restrictions on dissemination contained in

that Order merely by attaching a given document to a court filing on a discovery issue.

And the ease of evading the protective Order would, in turn, undercut any

“encouragement to disclose” in the first instance. Id.

      Given the problems that arise from a broad reading of Shane Group’s scope,

the Court concludes such a reading is not warranted. As already noted, the context

in which the sealing issue arose in Shane Group did not involve “discovery motions,”

but rather a much broader sealing order than the government seeks here. Shane

Group stemmed from a massive class-action lawsuit based “on credible allegations

that Michigan’s largest health insurer engaged in price-fixing to the detriment of




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millions of Michigan citizens.” 825 F.3d at 302. “Yet the district court sealed most of

the parties’ substantive filings from public view.” Id. (emphasis added). These

included “nearly 200 exhibits and an expert report upon which the parties based a

settlement agreement that would determine the rights of those millions of citizens.”

Id. “Class members who sought to object to the proposed settlement thus had no

ability to examine the bases of what they were objecting to.” Id.

      In Shane Group, then, the challenge to the seal took place after the parties had

reached a settlement agreement and while the class members were evaluating the

merits of that settlement. Here, the opposition to the seal comes while discovery in

this case is ongoing and before the case has come close to reaching a final resolution.

But perhaps the most important distinction is that the seal in Shane Group applied

to “the parties’ substantive filings … including nearly 200 exhibits and an expert

report upon which the parties based a settlement agreement that would determine

the rights of … millions of citizens.” Id. (emphasis added). Clearly, “[t]he public has

a strong interest in obtaining” that information. Id. at 305. Not so here, where the

seal would apply to unsubstantiated allegations referenced in discovery filings (not

“substantive filings”) seeking information that might have no bearing on this case.

      These differences strongly suggest that the Shane Group Court did not have in

mind discovery filings when it suggested that placing a document in the court record

ends the discovery stage and commences the adjudicative stage. And it is perhaps no

surprise that none of the three cases it cited in support of that rule involved such

filings, either. See Joy, 692 F.2d at 893 (“We simply do not understand the argument




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that derivative actions may be routinely dismissed on the basis of secret documents.”)

(emphasis added); Baxter, 297 F.3d at 545–46 (“[Secrecy] [a]greements that were

appropriate at the discovery stage are no longer appropriate for the few documents

that determine the resolution of an appeal, so any claim of secrecy must be reviewed

independently in this court.”) (emphasis added); Brown & Williamson, 710 F.2d at

1180 (“The District Court’s orders placed all documents filed by the FTC under seal

and continued the seal pending this appeal.”) (emphasis added).

      By contrast, other courts have recognized that the mere filing of a document

with the district court is not enough, in and of itself, to justify the “strong presumption

in favor of openness” to which Shane Group refers. 825 F.3d at 305. In S.E.C. v.

TheStreet.Com, for example, the court rejected the argument that “the very exercise

of [the district court’s] power to seal [confidential testimony] transformed the

[testimony] into a ‘judicial document’ presumptively open to the public.” 273 F.3d 222,

223 (2d Cir. 2001). Such a rule, reasoned the court, “would transform every document

that a court reviews into a ‘judicial document’ presumptively open to the public,

despite well-settled law to the contrary.” Id. Or look to United States v. Wolfson, 55

F.3d 58 (2d Cir. 1995). There, the court rejected a request to unseal “documents that

were submitted to a court in camera as part of a discovery dispute and were held not

discoverable.” Id. at 60. The court held that the mere “lodging” of documents with the

district court did not create “a presumptive right of public access” “derived from the

First Amendment or from common law.” Id.




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      Finally, consider Cryovac, Inc, 805 F.2d at 1. There, the court explained why

the same public right of access that applied to a motion for summary judgment did

not apply to “a request to compel or protect the disclosure of information in the

discovery process.” Id. at 13. The court reasoned that the second type of document

was “not a request for a disposition of substantive rights.” Id. In fact, continued the

court, “[m]aterials submitted to a court for its consideration of a discovery motion are

actually one step further removed in public concern from the trial process than the

discovery materials themselves, materials that the Supreme Court has said are not

subject to the public’s right of access.” Id. (citing Seattle Times Co., 467 U.S. 36–37).

“It would be an odd procedure if a trial court were forced to scrutinize strictly …

materials it considers in support or in opposition to a discovery motion, but it did not

have to do so for the information the parties seek to uncover.” Id.

      In sum, the Court concludes that the better reading of Shane Group—based on

historical, prudential, and practical grounds—is that its strictures do not, and should

not, apply to discovery motions, like those at issue here.

      That being said, at some level, it turns out not to matter much whether Shane

Group’s strictures apply or not. That is because the Court finds that avoiding the

prejudice that would almost certainly ensue from pre-trial publicity about these

allegations presents a “compelling reason” justifying a seal. 825 F.3d at 305. And the

seal would be “narrowly tailored” because it would apply to only those references

containing the allegations and to no other portion of the document, unless redaction




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were unfeasible. The proposed seal here thus satisfies Shane Group’s standards, even

assuming they apply.

      Accordingly, for both of those reasons, the Court rejects Sittenfeld’s argument

based on Shane Group.

                                   CONCLUSION

      For the foregoing reasons, the Court GRANTS the government’s Sealed

Motion for a Protective Order (Doc. 33). Accordingly, going forward, both parties are

directed to file under seal any references, whether in briefing or exhibits, to

allegations regarding



                                                             To accomplish this, the

parties shall file any such documents on the sealed docket in unredacted form. The

parties shall then have twenty-four hours to file on the public docket a version of any

such filing in which all references to such allegations are redacted. The parties are

directed to work together to determine the specific redactions necessary pursuant to

this Opinion and Order, and to contact the Court if they cannot agree. In addition,

because the government’s Motion (Doc. 33) and Sittenfeld’s Response Brief (Doc. 50)

are both currently under seal, the parties are directed to (1) redact references to the

allegations in those documents consistent with this Opinion and Order, and (2) file

the redacted documents on the public docket.




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      SO ORDERED.


April 15, 2021
DATE                                    DOUGLAS R. COLE
                                        UNITED STATES DISTRICT JUDGE




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